               IN THE SUPREME COURT OF NORTH CAROLINA

                                  2022-NCSC-24

                                    No. 70A21

                               Filed 11 March 2022

MARK W. PONDER

             v.

STEPHEN R. BEEN



      Appeal pursuant to N.C.G.S. § 7A-30(2) from the decision of a divided panel of

the Court of Appeals, 275 N.C. App. 626, 853 S.E.2d 302 (2020), reversing an order

entered on 29 October 2019 by Judge W. Robert Bell in Superior Court, Mecklenburg

County. Heard in the Supreme Court on 15 February 2022.


      Sodoma Law, by Amy Simpson, for plaintiff-appellant.

      James, McElroy &amp; Diehl, P.A., by Preston O. Odom, III, and Claire Samuels
      Law, PLLC, by Claire J. Samuels, for defendant-appellee.


      PER CURIAM.

      For the reasons stated in the dissenting opinion, the decision of the Court of

Appeals is reversed.

      REVERSED.
